               Case 2:11-cr-00467-JAM Document 83 Filed 11/13/12 Page 1 of 3


1    DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
2    117 J Street, Suite 202
     Sacramento, California 95814
3    916-447-1193
4    Attorney for Defendant
     Zhora Darmoyan
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6
                                 IN THE UNITED STATES DISTRICT COURT
7
                                     EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,           )
10                                       )                NO. 2:11-cr-467 JAM
                 Plaintiff,              )
11                                       )
           v.                            )                AMENDED STIPULATION AND ORDER
12                                       )
     ZHORA DARMOYAN, ET. AL.             )
13                                       )
                 Defendant.              )
14   ____________________________________)
15
            IT IS HEREBY stipulated between the United States of America through its undersigned
16
     counsel, Assistant United States Attorney Lee Saara Bickley, and defendant Zhora Darmoyan through
17
     his undersigned counsel Dwight Samuel, defendant Marat Galoyan through his undersigned counsel
18
     Christopher Haydn-Myer, defendant Martin Antoyan through his undersigned counsel J. Toney, and
19
     defendant Kristine Atoyan through her undersigned counsel Kresta Nora Daly, that the previously
20
     scheduled status conference date of November 13, 2012, be vacated and the matter set for status
21
     conference on January 29, 2013 at 9:45 a.m.
22
            The reason for this request is that this is a complex case with over 10 related cases. Defense
23
     counsel is and has been investigating the allegations in this case. Such investigations are time
24
     consuming given the number of transactions, related cases and parties. Based upon anticipated
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     negotiations and discussion, defense counsel needs time to re-review and research issues needed for
26
     sentencing.
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               Case 2:11-cr-00467-JAM Document 83 Filed 11/13/12 Page 2 of 3


1           The parties further agree and stipulate that the time period from the filing of this stipulation until
2    January 29, 2013, should be excluded in computing time for commencement of trial under the Speedy
3    Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4, to
4    allow continuity of counsel and to allow reasonable time necessary for effective defense preparation. It is
5    further agreed and stipulated that the ends of justice served in granting the request outweigh the best
6    interests of the public and the defendant in a speedy trial.
7           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
8
9
10   DATED: November 6, 2012                                By:           /s/
                                                                    DWIGHT M. SAMUEL
11                                                                  Attorney for Defendant
                                                                    ZHORA DARMOYAN
12
13   DATED: November 6, 2012                                                 /s/
                                                                    LEE SAARA BICKLEY
14                                                                  Assistant U.S. Attorney
15
16   DATED: November 6, 2012                                                 /s/
                                                                    CHIRSTOPHER HAYDN-MYER
17                                                                  Attorney for Defendant
                                                                    MARAT GALOYAN
18
19   DATED: November 6, 2012                                                  /s/
                                                                    J. TONEY
20                                                                  Attorney for Defendant
                                                                    MARTIN ATOYAN
21
22   DATED: November 6, 2012                                                 /s/
                                                                    KRESTA NORA DALY
23                                                                  Attorney for Defendant
                                                                    KRISTINE ATOYAN
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               Case 2:11-cr-00467-JAM Document 83 Filed 11/13/12 Page 3 of 3


1
2            ORDER
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4            The Court, having received, read, and considered the stipulation of the parties, and good cause
5    appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the
6    stipulation of the parties and the recitation of facts contained therein, the Court finds that the failure to
7    grant a continuance in this case would deny defense counsel reasonable time necessary for effective
8    preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice to
9    be served by granting the requested continuance outweigh the best interests of the public and the
10   defendants in a speedy trial.
11           The Court orders that the time from the date of the parties' stipulation, November 13, 2012, to
12   and including January 29, 2013, shall be excluded from computation of time within which the trial of
13   this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and
14   (B) (iv), and Local Code T4 (reasonable time for defense counsel to prepare). It is further ordered that
15   the November 13, 2012, conference shall be continued to January 29, 2013 at 9:45 a.m..
16
17           IT IS SO ORDERED.
18
     DATED: 11/9/2012
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                                                                  /s/ John A. Mendez
20                                                                Judge John A. Mendez
                                                                  United States District Court Judge
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